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                                 UNITED STATES DISTRICT COURT

                                EASTERN DISTRICT OF LOUISIANA


 VERITEXT CORP.,                                      CIVIL ACTION

                         Plaintiff                    NO. 16-13903
                                                      C/W 17-9877
         v.                                           REF: ALL CASES
 PAUL A. BONIN, ET AL.,                               JUDGE IVAN L.R. LEMELLE
                         Defendants.
                                                      MAG. JUDGE JOSEPH C. WILKINSON

                                                      SECTION “B”(2)

                            DECLARATION OF AVI STADLER

         I, Avi Stadler, declare under penalty of perjury as follows:

         1.     I am over 18 years of age. I am general counsel for Esquire Deposition

Solutions LLC and have held that position since May 2014. I have personal knowledge of

the facts stated herein, and submit this declaration on behalf of Esquire in support of its

opposition to the Motion for Partial Summary Judgment filed by the CSR Defendants.

         2.     Louisiana Code of Civil Procedure Article 1434 prohibits a court reporter

from contracting with a party-litigant or the employee of a party-litigant. An “employee” is

defined in Article 1434(2) as a “person employed part or full time under contract or

otherwise by a person who has a contractual relationship with a party-litigant to provide

shorthand or other court reporting services.” Article 1434 does not prohibit court reporters

from accepting assignments from out-of-state court reporting firms hired by attorneys as long

as no agreement exists between the out-of-state court reporting firm and party litigant.




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         3.    Esquire does not contract with party litigants or enter into written or verbal,

express or tacit, agreements with party litigants or their insurers to provide court reporting

services in Louisiana. When attorneys with court reporting needs in Louisiana contact

Esquire, it engages a Louisiana court reporter to provide those services. Esquire does not

take any actions in its dealings with Louisiana court reporters that would be inconsistent with

Article 1434 or with any of the rules and regulations of the CSR Board.




                                             By:      /s/ Avi Stalder_______
                                                     AVI STADLER




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